                IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA



METLAKATLA INDIAN COMMUNITY, a
Federally Recognized Indian Tribe,

                 Plaintiff,
          v.

MICHAEL J. DUNLEAVY, Governor of             Case No. 5:20-cv-00008-SLG
the State of Alaska, et al.,

                 Defendants.


           ORDER RE JOINT MOTION FOR EXTENSION OF TIME

     Before the Court at Docket 43 is the parties’ Joint Motion for Extension of

Time. The motion is hereby GRANTED. IT IS ORDERED that the deadlines in this

matter are AMENDED as follows:

           Deadline               Current Deadline          New Deadline
Response to State’s Motion for         10/2/2023              10/16/2023
Summary Judgment and Cross
Motion
Final Discovery Witness List          10/30/2023              1/29/2024
Close of Fact Discovery               12/12/2023              3/11/2024
Expert Witnesses Shall be              1/11/2024              4/10/2024
Identified
Responsive Supplemental                1/25/2024              4/24/2024
Expert Witnesses
Expert Disclosure Reports              2/12/2024              5/13/2024
Rebuttal Reports Due                   3/13/2024              6/11/2024




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 Expert Witness Discovery                    5/10/2024                    8/8/2024
 (include depositions) and
 Motions Under the Discovery
 Rules
 Dispositive Motions and                     6/10/2024                    9/9/2024
 Motions to Exclude Expert
 Testimony


       DATED this 25th day of September 2023, at Anchorage, Alaska.


                                                 /s/ Sharon L. Gleason
                                                 UNITED STATES DISTRICT JUDGE




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